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                        IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF ALASKA

ALCAN FOREST PRODUCTS LP, an
Alaska Limited Partnership,

                                    Plaintiff,

v.                                                Case No. 5:11-cv-00001-TMB

A-1 TIMBER CONSULTANTS, INC., a
Washington Corporation,                           ANSWER TO COMPLAINT FOR BREACH
                                                   OF CONTRACT AND VIOLATIONS OF
                                 Defendant.        THE UNFAIR TRADE PRACTICES ACT

       Defendant A-1 Timber Consultants, Inc. (“A-1 Timber”), by and through counsel, in
answer to plaintiff’s complaint, states and alleges as follows:
                                  I. Statement of Civil Action
       1.      Admit that Exhibit A to the Complaint is a true and accurate copy of the Falling
and Bunching Contract: Long Island and Coon Cove between Alcan Forest Products LP
(“Alcan”) and A-1 Timber Consultants, Inc. (“A-1”) dated April 15, 2010 (the “Contract”).
The remainder of the paragraph states a legal conclusion to which no response is required. In
all other respects, the allegations are denied.
                                             II. Parties
       2.      A-1 has insufficient information to admit or deny the allegations in this
paragraph and therefore denies those allegations.
       3.      Admit that A-1 is a Washington corporation authorized to do business in Alaska
and that the State of Alaska issued a Certificate of Authority on November 2, 2010.




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                                           III. Jurisdiction
        4.      Admit that this matter is properly heard in federal court. In all other respects,
the allegations are denied.
        5.      Admit that this matter is properly heard in federal court. In all other respects,
the allegations are denied.
        6.      Admit that this matter is properly heard in federal court. In all other respects,
the allegations are denied.
                         IV. Breach of Falling and Bunching Contract
        7.      Based on information provided by Alcan prior to signing the Contract on April 15,
2010, admit. In all other respects, the allegations are denied.
        8.      Based on information provided by Alcan prior to signing the Contract on April 15,
2010, admit. In all other respects, the allegations are denied.
        9.      Based on information provided by Alcan prior to signing the Contract on April 15,
2010, admit. In all other respects, the allegations are denied.
        10.     Admit that on or about March 2010, Alcan representatives, including Mike
Doig, contacted A-1 about providing certain timber harvesting services at Long Island and
Coon Cove. In all other respects, the allegations are denied.
        11.     A-1 has insufficient information to admit or deny the allegations in this
paragraph and therefore denies those allegations.
        12.     A-1 has promoted itself as capable and experienced in mechanical felling of
timber. In all other respects, the allegations are denied.
        13.     Admit.
        14.     Admit that on or about late March 2010, Tom Loushin (“Loushin”) traveled to
Ketchikan to meet with representatives of Alcan to discuss A-1 providing mechanical felling
services to Alcan. In all other respects, the allegations are denied.
        15.     Admit that on or about late March 2010, Alcan representatives took Loushin to
another harvest area to view Alcan’s operation. In all other respects, the allegations are denied.




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          16.   Admit that on or about late March 2010, Alcan representatives discussed a
felling and bunching contract with Loushin, and that some of those discussions took place in
Ketchikan. In all other respects, the allegation is denied.
          17.   Admit that Alcan and A-1 reached an agreement as set forth in the Contract. In all
other respects, the allegation is denied.
          18.   Admit that Alcan and A-1 reached an agreement as set forth in the Contract. In all
other respects, the allegation is denied.
          19.   Admit that Alcan and A-1 reached an agreement as set forth in the Contract. In all
other respects, the allegation is denied.
          20.   Admit that Alcan and A-1 reached an agreement as set forth in the Contract. In all
other respects, the allegation is denied.
          21.   Admit that Alcan and A-1 reached an agreement as set forth in the Contract. In all
other respects, the allegation is denied.
          22.   Admit that Alcan and A-1 reached an agreement as set forth in the Contract. In all
other respects, the allegation is denied.
          23.   Admit that Alcan and A-1 reached an agreement as set forth in the Contract. In all
other respects, the allegation is denied.
          24.   Admit that Alcan and A-1 reached an agreement as set forth in the Contract. In all
other respects, the allegation is denied.
          25.   Admit that Alcan and A-1 reached an agreement as set forth in the Contract. In all
other respects, the allegation is denied.
          26.   Admit that Alcan and A-1 reached an agreement as set forth in the Contract. In all
other respects, the allegation is denied.
          27.   Admit that Alcan and A-1 reached an agreement as set forth in the Contract. In all
other respects, the allegation is denied.
          28.   Admit that the Contract described its Term as “on or about April 15, 2010 and
terminating on October 31, 2010 or upon completion.” In all other respects, the allegation is
denied.




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          29.   Admit that A-1 loaded its equipment on a barge in Seattle at the earliest
practicable date after the parties signed the Contract. In all other respects, the allegation is
denied.
          30.   Admit that A-1 began work on Long Island at the earliest practicable date after
the parties signed the Contract. In all other respects, the allegation is denied.
          31.   Admit that Alcan paid the barge charges for shipping A-1’s equipment from
Seattle to Ketchikan and that Alcan received a Freight Bill dated April 23, 2010, from
Northland Services, Inc., in the amount of $5,345.75. In all other respects, the allegation is
denied.
          32.   Admit that Alcan paid the barge charges for shipping A-1’s equipment from
Ketchikan to Long Island. In all other respects, the allegation is denied.
          33.   Admit the contents of Paragraph 27 of the Contract. In all other respects, the
allegation is denied.
          34.   Admit the contents of Paragraph 27 of the Contract, including the identification
of Dan Ward as A-1’s on site representative. In all other respects, the allegation is denied.
          35.   Admit.
          36.   Admit that A-1 entered into a Timber Purchase and Sale Agreement with
Leisnoi Incorporated on or about May 7, 2010, for the purchase of standing timber at or near
Kodiak Island. In all other respects, the allegation is denied.
          37.   Denied.
          38.   Admit.
          39.   Admit that the Price Schedule of the Contract identifies the price for the
Tigercat 370 as “$220 per cutting hour.” In all other respects, the allegation is denied.
          40.   Admit that A-1 sent an invoice to Alcan on May 18, 2010, for a total of $18,700
based on 85 total hours for the Tigercat XL870 during the weeks ending May 1, May 8, and
May 15, 2010. In all other respects, the allegation is denied.
          41.   Admit that A-1 sent an invoice to Alcan on June 17, 2010, for a total of $32,780
based on 149 total hours for the Tigercat XL870 during the weeks ending May 22, May 29,
June 5, and June 15, 2010. In all other respects, the allegation is denied.


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        42.     Denied.
        43.     Admit that A-1’s equipment had certain mechanical breakdowns while working
on the Contract. In all other respects, the allegation is denied.
        44.     Denied.
        45.     Denied.
        46.     Denied.
        47.     Denied.
        48.     Denied.
        49.     Denied.
        50.     Denied.
        51.     Admit that one of the mechanical breakdowns of A-1’s equipment was a broken
saw disc. In all other respects, the allegation is denied.
        52.     Denied.
        53.     Denied.
        54.     Denied.
        55.     Denied.
        56.     Denied.
        57.     Admit that on or about July 7, 2010, Alcan sent a letter to A-1 by email that
stated that Alcan “terminates” the Contract. In all other respects, the allegation is denied.
        58.     Admit that on or about July 7, 2010, Alcan sent a letter to A-1 by email that
stated that Alcan “terminates” the Contract. In all other respects, the allegation is denied.
        59.     Denied.
        60.     Admit that A-1 removed its equipment from Long Island on or about July 7,
2010. In all other respects, the allegation is denied.
        61.     Denied.
        62.     Admit that A-1 sent two invoices to Alcan, May 18 and June 17, 2010, for a
total of $51,480 based on 234 total hours for the Tigercat XL870 during April, May, and June
2010. In all other respects, the allegation is denied.
        63.     Denied.


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        64.     Denied.
        65.     Denied.
        66.     Denied.
        67.     Denied.
        68.     Denied.
        69.     Denied.
        70.     Denied.
                                        First Claim for Relief
                                          (Material Breach)
        71.     Admitted or denied only to the extent previously admitted or denied.
        72.     Denied.
        73.     Denied.
        74.     Denied.
        75.     Denied.
        76.     Denied.
        77.     Denied.
        78.     Denied.
                                       Second Claim for Relief
                                        (Anticipatory Breach)
        79.     Admitted or denied only to the extent previously admitted or denied.
        80.     Denied.
        81.     Denied.
        82.     Denied.
        83.     Denied.
        84.     Denied.
        85.     Denied.
        86.     Denied.
        87.     Denied.




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                                      Third Claim for Relief
                          (Failure to Substantially Complete Contract)
        88.     Admitted or denied only to the extent previously admitted or denied.
        89.     Denied.
        90.     Denied.
        91.     Denied.
                                   Fourth Claim for Relief
                     (Breach of Covenant of Good Faith and Fair Dealing)
        92.     Admitted or denied only to the extent previously admitted or denied.
        93.     Admit that both A-1 and Alcan have a duty to comply with the covenant of good
faith and fair dealing in contractual relations. In all other respects, the allegation is denied.
        94.     Denied.
        95.     Denied.
                                    Fifth Claim for Relief
                    (Unfair Trade Practices and Consumer Protection Act)
        96.     Admitted or denied only to the extent previously admitted or denied.
        97.     Denied.
        98.     Denied.
                                    AFFIRMATIVE DEFENSES
        By way of further answer and affirmative defenses, A-1 Timber states as follows:
        1.      Plaintiff’s complaint fails to state a cause of action upon which relief can be
granted.
        2.      Plaintiff’s damages, if any, were caused, in whole or in part, by Plaintiff’s own
negligence and defendant is entitled to the benefits of AS 09.17.010 et seq.
        3.      Plaintiff’s injuries, if any, were caused, in whole or in part, by third parties over
whom defendant has no control.
        4.      Plaintiff has failed to mitigate its damages, if any.
        5.      Plaintiff is estopped from bringing this claim.
        6.      Plaintiff has waived its right to bring this claim.
        7.      Plaintiff’s claim is barred by the doctrine of unclean hands.

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           8.         A-1 Timber reserves the right to add additional affirmative defenses as may be
discovered through future discovery.
                                                PRAYER FOR RELIEF
           WHEREFORE, having answered plaintiff’s complaint, and having set forth its affirmative
defenses, A-1 Timber prays for relief as follows:
           1.         That Plaintiff’s complaint be dismissed, with prejudice;
           2.         That A-1 Timber be awarded its costs, including reasonable attorneys’ fees,
incurred in the defense of this action; and
           3.         For such further relief as this court deems equitable and just.
           DATED this 12th day of May, 2011.
                                                      LANE POWELL LLC
                                                      Attorneys for Defendant

                                                      By /s/ Matthew W. Claman
                                                       301 West Northern Lights Boulevard, Suite 301
                                                       Anchorage, Alaska 99503-2648
                                                       Tel: 907-264-3311
                                                       Fax: 907-276-2631
                                                       Email: clamanm@lanepowell.com
                                                       ASBA No. 8809164
I certify that on May 12, 2011, a copy of the
foregoing was served by ECF on:

H. Clay Keene, Esq.; info@keenecurrall.com

  /s/ Matthew W. Claman
124950.0004/4176789.1




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